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                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF RHODE ISLAND


PETER BIBBY,                            :
                 Plaintiff,             :
                                        :
           v.                           :       CA 09-529 ML
                                        :
JOSEPH F. RODGERS, JUDGE and            :
ADMINISTRATOR OF SUPERIOR COURT,        :
STATE OF RHODE ISLAND,                  :
MAGISTRATE HARWOOD, and                 :
JANE AND JOHN DOE, CLERKS,              :
               Defendants.1             :




                       REPORT AND RECOMMENDATION

David L. Martin, United States Magistrate Judge


      This is an action pursuant to 42 U.S.C. § 1983 brought by

Plaintiff Peter Bibby (“Plaintiff” or “Bibby”) for alleged

violations of his constitutional rights.         See Complaint (Document

(“Doc.”) #1).    Reading his pro se Complaint generously, see

de Aza-Paez v. United States, 343 F.3d 552, 553 (1st Cir. 2003)

(noting “the court’s obligation to read pro se complaints

generously”), the defendants in this action are: Joseph F.

Rodgers, Jr. (“Judge Rogers”), who, prior to his retirement in

August 2009, was the presiding justice and administrative judge

of the Rhode Island Superior Court (“RISC”), see R.I. Gen. Laws §




      1
       For clarity, the Court has modified the order in which
Defendants’ names appear in the Complaint (Document (“Doc.”) #1) .
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8-2-42 (1997 Reenactment), the State of Rhode Island (the

“State”), Patricia L. Harwood (“Magistrate Harwood”) or (“Judge

Harwood”), the general magistrate of the RISC, see id. § 8-2-39,

and the clerks of the Rhode Island Superior Court (designated as

Jane and John Doe) (the “RISC Clerks”), (collectively

“Defendants”).      For the reasons explained herein, I find that the

Complaint fails to state a claim upon which relief can be

granted.     Accordingly, I recommend that this action be dismissed

pursuant to 28 U.S.C. § 1915(e)(2).3




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          R.I. Gen. Laws § 8-2-4 states:

      The presiding justice of the superior court shall be the
      administrative judge. He or she shall be the administrative
      head of the superior court and have supervision and control of
      the calendars and of the assignment of justices. All court
      stenographers and secretaries shall be under his or her
      supervision.   It shall be his or her duty to gather such
      statistics as shall reflect accurately the work of the court
      for the information of the court and such other use as he or
      she may deem expedient.

      3
          Title 28, Section 1915(e)(2) states that:

      (2) Notwithstanding any filing fee, or any portion thereof,
      that may have been paid, the court shall dismiss the case at
      any time if the court determines that--
           (A) the allegation of poverty is untrue; or
           (B) the action or appeal--
                 (i) is frivolous or malicious;
                 (ii) fails to state a claim on which relief may be
                 granted; or
                 (iii) seeks monetary relief against a defendant
                 who is immune from such relief.

28 U.S.C. § 1915(e)(2) (bold added).

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I.   Background

     On November 6, 2009, this Magistrate Judge issued an order

granting Bibby’s motion to proceed in forma pauperis.            See Order

Granting Motion to Proceed in Forma Pauperis (Doc. #4) (“Order of

11/6/09”).    At the time, this Magistrate Judge was unaware that

Bibby had previously filed a similar § 1983 action which was

dismissed on January 21, 2009, by Chief Judge Mary M. Lisi for

failure to state a claim upon which relief may be granted.            See

Peter J. Bibby v. Glenn Sparr, et al., CA 08-333 ML (the “Prior

Action”), Order (Doc. #10) (“Order of 1/21/09”).           In dismissing

the Prior Action, Chief Judge Lisi adopted the January 6, 2009,

Report and Recommendation (“R&R of 1/6/09”) of Senior Magistrate

Judge Jacob Hagopian (“Judge Hagopian”).         See Prior Action, Order

of 1/21/09.

      The facts alleged by Bibby in the Prior Action, as

summarized by Judge Hagopian, are stated below.

           On December 11, 2006, Plaintiff was arraigned before
      Judge Harwood of the [RISC] for violating probation on
      several convictions.    At this arraignment, the judge
      appointed the Rhode Island Public Defender’s Office
      (“PDO”) to represent Plaintiff for the probation
      violation, unaware of the PDO’s new policy not to
      represent clients for probation violations in non-
      capital cases, such as Plaintiff’s.      On December 18,
      2006, Plaintiff was brought before the RISC for
      determination of attorney and a probation violation
      hearing; however, due to the PDO’s policy, no attorney
      was present to represent Plaintiff. Plaintiff requested
      bail, but the case was continued to December 26, 2006.

           At the December 26th hearing, Plaintiff still had no
      attorney. His renewed request for bail was denied, and

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      Plaintiff was again remanded to the ACI. Later that day,
      without Plaintiff or an attorney present, RISC Judge
      Lamphear denied bail. The same day, Plaintiff left a
      message for Chief Judge Rodgers of the RISC requesting
      appointment of private counsel.       Defendant [Daniel]
      Schrock, a private attorney, was appointed.

           Plaintiff’s violation hearing was held on January 3,
      2007, with Schrock representing him; however, Schrock
      neither requested bail nor objected when Plaintiff’s
      suspended   concurrent   sentences   were    imposed   as
      consecutive. As a result, Plaintiff was sentenced to 90
      months instead of the 43 months remaining on the
      sentences subject to the probation violation.

           On March 20, 2007, Schrock withdrew from the case.
      Plaintiff called the PDO to find out why Judge Harwood
      had appointed a PDO attorney initially even though the
      PDO[] w[as] not taking cases like his. He spoke with
      John Hardiman (“Hardiman”) of the PDO, who indicated that
      Chief Judge Rodgers had issued an administrative notice
      informing the RISC judges of the PDO policy and the RISC
      Clerks should have passed such notice to the RISC judges.

           Defendant [Glenn] Sparr, a private attorney who had
      been appointed as Plaintiff’s lawyer after Schrock
      withdrew, represented Plaintiff at his next court
      appearance on June 25, 2007.     Plaintiff had requested
      Sparr to subp[oe]na Hardiman and Schrock to testify
      regarding (l) the failure of the RISC Clerks to
      disseminate Chief Judge Rodgers’ notice regarding the PDO
      policy to the RISC judges and (2) the resulting failure
      of the State to appoint counsel for Plaintiff at hearings
      on December 11, 18 and 26, 2006.   However, Sparr did not
      subpoena any witnesses.     Sparr also failed to present
      Plaintiff’s motions (i) for a new judge (based on
      Plaintiff’s allegation that Chief Judge Rodgers, who had
      failed to have the PDO policy passed to the other RISC
      judges, had a conflict of interest) and (ii) to correct
      the   sentence   that   had   been  erroneously   imposed
      consecutively rather than concurrently.      At the next
      hearing regarding the probation violation, on September
      17, 2007, Sparr withdrew as Plaintiff’s lawyer, leaving
      him with no lawyer to argue when Chief Judge Rodgers
      reduced the sentence from 90 to 66 months, even though he
      had only 43 months left on the sentences subject to the
      probation violation.


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           Plaintiff filed suit in this Court on September 8,
      2008. He claims defendants violated his constitutional
      rights pursuant to the 4th, 5th, 6th, and 14th amendments.
      Specifically, he alleges that the State violated his
      rights by not providing him with an attorney at the
      hearings on December 11, 18 and 26, 2006 or with a bail
      or violation hearing within the time frame required by
      Rhode Island General Law § 12-19-9.[4] He further alleges
      that Schrock and Sparr violated his rights by failing to
      exercise due diligence, care and ordinary skill and
      knowledge of an average attorney in representing his
      interests, and by engaging in a conspiracy with the RISC
      Clerks to cover up the clerks’ failure to issue the
      administrative order regarding the new PDO policy.
      Finally, he alleges that the RISC Clerks violated his
      rights to equal protection, bail and witnesses by failing
      to disseminate the new PDO policy to the RISC judges. He
      claims that as a result of the foregoing violations of
      his rights he: did not receive bail, was sentenced to 66
      months rather than the 43 months he had left to serve on
      his sentences, was unable to go for parole, and suffered
      various damages including loss of liberty and loss of
      income.

Prior Action, R&R of 1/6/09 at 1-3 (bold added).

      Based on these allegations, Judge Hagopian determined that

Bibby’s complaint against the RISC Clerks was “merely one of

negligence ....”     Id. at 7.    Because “the Due Process Clause is

simply not implicated by a negligent act of an official causing

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       A footnote which appears at this point in Judge Hagopian’s R&R
of 1/6/09 states:

      Rhode Island General Law § 12-19-9 provides that, after the
      attorney general has caused a person suspected of a probation
      violation to appear in court, the court "may order the
      defendant held without bail for a period not exceeding ten
      (10) days, excluding Saturdays, Sundays, and holidays. The
      court shall conduct a hearing to determine whether the
      defendant has violated the terms and conditions of his or her
      probation, at which hearing the defendant shall have the
      opportunity to be present and to respond.”

Prior Action, R&R of 1/6/09 at 3 n.1 (quoting statute).

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unintended loss of or injury to life, liberty, or property,” id.

(quoting Daniels v. Williams, 474 U.S. 327, 328, 106 S.Ct. 662

(1986)), Judge Hagopian found that Bibby’s complaint against the

RISC Clerks did “not support a § 1983 claim for violation of due

process protections.”      Id.   Judge Hagopian further found that to

the extent Bibby sued the RISC Clerks for intentional acts

related to an alleged conspiracy, such claims also failed because

Bibby had not presented any allegations to raise his bald

assertions of a conspiracy above a speculative level, and the

Court did not have to “credit such allegations.”           Id. at 8.

Accordingly, Judge Hagopian recommended that the action against

the RISC Clerks be dismissed for failure to state a claim upon

which relief can be granted.       Id.    Chief Judge Lisi accepted this

recommendation.     See Prior Action, Order of 1/21/09.

II.   Discussion

      A.   Judge Rodgers and Magistrate Harwood

            1.   Judicial Immunity

      It is well established that judges are absolutely immune

from suit for their judicial acts unless they act in the clear

absence of all jurisdiction.       See Mireles v. Waco, 502 U.S. 9,

11-12, 112 S.Ct. 286 (1991); see also Stump v. Sparkman, 435 U.S.

349, 356-57, 98 S.Ct. 1099 (1978)(“A judge will not be deprived

of immunity because the action he took was in error, was done

maliciously, or was in excess of his authority; rather, he will


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be subject to liability only when he has acted in the clear

absence of all jurisdiction.”)(internal quotation marks omitted);

Pierson v. Ray, 386 U.S. 547, 553-54, 87 S.Ct. 1213 (1967)(“Few

doctrines were more solidly established at common law than the

immunity of judges from liability for damages for acts committed

within their judicial jurisdiction, as this Court recognized when

it adopted the doctrine, in Bradley v. Fisher, 13 Wall. 335, 20

L.Ed. 646 (1872).”); cf. Antoine v. Byers & Anderson, Inc., 508

U.S. 429, 435, 113 S.Ct. 2167 (1993)(“The doctrine of judicial

immunity is supported by a long-settled understanding that the

independent and impartial exercise of judgment vital to the

judiciary might be impaired by exposure to potential damages

liability.”).

      “[T]he factors determining whether an act by a judge is a

‘judicial’ one relate to the nature of the act itself, i.e.,

whether it is a function normally performed by a judge, and to

the expectations of the parties, i.e., whether they dealt with

the judge in his judicial capacity.”         Stump v. Sparkman, 435 U.S.

at 362, 98 S.Ct. 349; see also Cok v. Cosentino, 876 F.2d 1, 2

(1st Cir. 1989)(“There is no question that [the defendant judge]

was protected by absolute immunity from civil liability for any

normal and routine judicial act.          This immunity applies no matter

how erroneous the act may have been, how injurious its

consequences, how informal the proceeding, or how malicious the


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motive.”)(citations omitted).5

      Moreover, there is ample authority that judges are

specifically immune to suits brought pursuant to § 1983.            See

Dennis v. Sparks, 449 U.S. 24, 27, 101 S.Ct. 183 (1980)(“[T]his

Court has consistently adhered to the rule that judges defending

against § 1983 actions enjoy absolute immunity from damages

liability for acts performed in their judicial capacities.”)

(internal quotation marks omitted); Pushard v. Russell, 815 F.2d

1, 2 (1st Cir. 1987)(“The law is well settled that the principle

of judicial immunity survived the enactment of 42 U.S.C. §

1983.”); Siano v. Justices of Massachusetts, 698 F.2d 52, 55 n.4

(1st Cir. 1983)(“[The plaintiff] correctly perceives that he is

precluded from bringing a section 1983 damages action against the

Justices by the doctrine of judicial immunity.”).

           2.   Judge Rodgers

                 a.   Judicial Capacity

      To the extent that Bibby purports to sue Judge Rodgers for

acts or omissions committed in his judicial capacity, such claims

are barred by the doctrine of judicial immunity.           Thus, as to


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       See also Mireles v. Waco, 502 U.S. at 13, 112 S.Ct. 286 (“a
judicial act does not become less judicial by virtue of an allegation
of malice or corruption of motive”)(internal quotation marks omitted);
Cleavinger v. Saxner, 474 U.S. 193, 199-200, 106 S.Ct. 496 (1985)
(“Such immunity applies however erroneous the act may have been, and
however injurious in its consequences it may have proved to the
plaintiff. Nor can this exemption of the judges from civil liability
be affected by the motives with which their judicial acts are
performed.”)(citation and internal quotation marks omitted).

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these allegations the Complaint fails to state a claim upon which

relief can be granted.      Accordingly, all claims against Judge

Rodgers based on acts or omissions committed in his judicial

capacity should be dismissed.       I so recommend.

                 b.   Administrative Capacity

      Bibby also alleges that Judge Rodgers is sued in his

capacity as administrator.       See Complaint ¶ 3.     Although Judge

Rodgers is not protected by judicial immunity for actions taken

in his capacity as an administrator,6 see Dawson v. Newman, 419

F.3d 656, 661 (7th Cir. 2005)(“judicial immunity applies to

‘judicial acts, but not to ministerial or administrative

acts’”)(quoting Lowe v. Letsinger, 772 F.2d 308, 311 (7th Cir.

1985)), the Complaint still fails to state a claim upon which

relief may be granted.      To the extent that Bibby alleges that

Judge Rodgers was negligent: a) in failing to inform the other

judges and magistrates of the PDO’s policy change, see Complaint


      6
       Bibby alleges that Judge Rodgers failed to properly train and
supervise his or the State’s employees. See Complaint ¶¶ 6, 8. While
the performance of such tasks may suggest an administrative rather
than judicial function, at least two courts have found such duties to
be judicial in nature. See Steinke v. Burress, No. 02-10216-BC, 2003
WL 21361916, at *3 (E.D. Mich. 2003)(concluding that judicial immunity
protects judge from § 1983 lawsuit alleging that he failed to
adequately train and supervise his staff in policies and regulations
which resulted in errors causing a delay in the appointment of
counsel); see also Dawson v. Newman, 419 F.3d 656, 659-61 (7th Cir.
2005)(affirming on grounds of judicial immunity dismissal of § 1983
lawsuit against judge whose staff failed to transmit release order to
department of corrections). For purposes of the instant Report and
Recommendation, however, this Magistrate Judge assumes that training
and supervising clerks are tasks which Judge Rodgers performed in his
administrative and not judicial capacity.

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¶ 8; b) in failing to insure that the RISC Clerks were properly

trained and also provided adequate notes to the Department of

Corrections regarding Bibby’s sentences, see id. ¶¶ 6, 10; c) in

failing to correct Bibby’s sentences when requested, see id. ¶

13; or d) in any other respect, see Complaint ¶¶ 3-15, the Court

has already explained that “the Due Process Clause is simply not

implicated by a negligent act of an official causing unintended

loss of or injury to life, liberty, or property,” Daniels v.

Williams, 474 U.S. at 328, 106 S.Ct. 662; see also Background

supra at 5-6.     Accordingly, Bibby’s claims against Judge Rodgers

based on negligence are not cognizable under § 1983, see Daniels,

474 U.S. at 333 (“false imprisonment does not become a violation

of the Fourteenth Amendment merely because the defendant is a

state official”)(quoting Baker v. McCollan, 443 U.S. 137, 146, 99

S.Ct. 2689 (1979)).

      To the extent that the Complaint alleges that Judge Rodgers

acting in his administrative capacity committed intentional

wrongs which violated Bibby’s constitutional rights, see

Complaint ¶¶ 10-11 (purporting to allege that Judge Rodgers

participated in a conspiracy); see also id. ¶ 13 (alleging that

“this negligence by Defendants was intentional”), such conclusory

allegations, unsupported by material facts, are no more than bald

assertions and need not be credited, see Slotnick v. Garfinkle,

632 F.2d 163, 165 (1st Cir. 1980)(holding that allegations of


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conspiracy must be supported by material facts, not merely

conclusory statements); see also United States v. AVX Corp.,

United States v. AVX Corp., 962 F.2d 108, 115 (1st Cir. 1992)

(stating that a court is not required to “credit bald

assertions”); cf. Toledo v. Sánchez, 454 F.3d 24, 34 (1st Cir.

2006)(“Although there is no heightened pleading standard for

civil rights claims, mere conclusory allegations of

discrimination unsupported by any facts are insufficient for

notice pleading purposes.”).        Accordingly, such claims based on

intentional acts fail to state a cause of action under § 1983.

      Because Bibby’s claims against Judge Rodgers in his

administrative capacity, based on negligence and his alleged

participation in a conspiracy, do not state a cause of action

under § 1983, the Complaint fails to state a claim with respect

to Judge Rodgers upon which relief can be granted.           Accordingly,

all claims against Judge Rodgers should be dismissed, and I so

recommend.

            3.   Magistrate Harwood

      Just as the doctrine of judicial immunity bars Bibby’s

claims against Judge Rodgers for acts taken in his judicial

capacity, it also bars Bibby’s claims against Magistrate Harwood.

It is clear from the Complaint that the only claims against

Magistrate Harwood are for acts taken in her judicial capacity.

The specific allegation which Bibby makes in regard to Magistrate


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Harwood is that “[o]n December 11, 2006[,] Magistrate Harwood

appointed the Public Defenders who never showed, when all of the

judges were suppose[d] to appoint private counsel for 32(f)

probation violators.”      Complaint ¶ 7.     The act of appointing an

attorney for a criminal defendant is a judicial function.             See

Martinez v. Hill, No. 3:05-CV-1655-N, 2006 WL 536617, at *2 (N.D.

Tex. Jan. 30, 2006)(finding that judge’s “alleged failure to

appoint counsel occurred in [her] capacity and function as a

judge, which in and of itself renders her immune from suit for

monetary damages”)(citing Stump v. Sparkman, 435 U.S. at 359, 98

S.Ct. 1099); Steinke v. Burress, No. 02-10216-BC, 2003 WL

21361916, at *5 (E.D. Mich. 2003)(agreeing that judge who

allegedly failed to have attorney appointed to represent prisoner

on appeal was acting in his judicial capacity and was therefore

immune from suit).

      Moreover, “[t]he principal hallmark of the judicial function

is a decision related to a particular case.”          Bliven v. Hunt, 579

F.3d 204, 211 (2nd Cir. 2009).       Here Bibby’s complaint against

Magistrate Harwood is based on her alleged failure to have

counsel appointed to represent him at a probation violation

hearing.    The probation which Bibby was accused of violating had

been imposed in one or more particular cases.           Thus, Magistrate

Harwood’s appointment of the Public Defender’s Office to

represent Bibby was not only an act normally performed by judges


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in their judicial capacity, but it was also related to a

particular case or cases.       Thus, it doubly qualifies as an act

protected by judicial immunity.

      In short, Magistrate Harwood is protected by judicial

immunity against the claims contained in the Complaint.

Therefore, the Complaint fails to state a claim against her upon

which relief may be granted.        All such claims against Magistrate

Harwood should be dismissed, and I so recommend.

      B.   State

      The basis for Bibby’s § 1983 claim against the State in the

instant action is not clear.        See Complaint.    Presumably, it is

related to the fact that all of the other Defendants are or were

employed by the State at the time of the alleged violation of

Bibby’s constitutional rights.        In any case, as Judge Hagopian

noted, the United States Supreme Court has held that a state “is

not a ‘person’ as that term is used in § 1983, and thus is not

susceptible to suit under § 1983.”         Prior Action, R&R of 1/6/09

at 5 (quoting Will v. Michigan Dep’t of State Police, 491 U.S.

58, 71, 109 S.Ct. 2304 (1989)).        Accordingly, I recommend that

the action against the State be dismissed for failure to state a

claim upon which relief can be granted.

      C.   RISC Clerks

      In the instant action, Bibby relies upon essentially the

same facts as were summarized by Judge Hagopian in the Prior


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Action.    Bibby again asserts that the RISC Clerks were involved

in a conspiracy with other Defendants which allegedly resulted in

a violation of his right to due process and caused him to be

falsely imprisoned.      See Complaint ¶¶ 10-11.      He further alleges

that as a result of the conspiracy the RISC Clerks “intentionally

failed to properly fill out the mit[ti]mus and correct my

sentences after many requests/motions ....”          Id. at 6.

       As in the Prior Action, see Prior Action, R&R of 1/6/09 at

8, Bibby has presented no allegations in his Complaint that raise

his bald assertions of a conspiracy involving the RISC Clerks

above a speculative level.       Thus, the Court need not credit them.

See Slotnick v. Garfinkle, 632 F.2d at 165 (“Though we are

mindful that pro se complaints are to be read generously,

allegations of conspiracy must nevertheless be supported by

material facts, not merely conclusory statements.”) (internal

citations omitted); see also United States v. AVX Corp., 962 F.2d

at 115 (“[A] reviewing court is obliged neither to credit bald

assertions, periphrastic circumlocutions, unsubstantiated

conclusions, or outright vituperation.”)(internal quotation marks

omitted).    Accordingly, Bibby has failed to state a claim upon

which relief can be granted with respect to the RISC Clerks, and

those claims should be dismissed.          I so recommend.

III.    Summary

       In sum, Bibby’s Complaint fails to state a claim upon which


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relief can be granted with respect to all Defendants.            Both Judge

Rodgers and Magistrate Harwood are protected by judicial immunity

against all claims for acts committed in their judicial

capacities.      To the extent that the Complaint alleges that Judge

Rodgers was negligent while acting in his administrative

capacity, allegations of negligence fail to state a cause of

action under § 1983.        To the extent that the Complaint alleges

that Judge Rodgers while acting in his administrative capacity

participated in a conspiracy and committed intentional acts, the

allegations are bald assertions which do not rise above a

speculative level.        Thus, they fail to state a claim upon which

relief can be granted.        As for the State, it is not a “person” as

that term is used in § 1983 and thus is not susceptible to suit

under § 1983.        Finally, with respect to the RISC Clerks, the

Complaint contains no allegations which raise Bibby’s bald

assertions of a conspiracy above a speculative level.

      Because none of the allegations against Defendants state a

claim upon which relief may be granted, the Complaint should be

dismissed pursuant to 28 U.S.C. § 1915(e)(2).7          I so recommend.

IV.   Conclusion

      For the reasons stated above, I recommend that the Complaint

be dismissed pursuant to 28 U.S.C. § 1915(e)(2) for failure to

state a claim upon which relief can be granted.           Any objection to


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          See n.3.

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this Report and Recommendation must be specific and must be filed

with the Clerk of the Court within fourteen (14) days of its

receipt.    See Fed. R. Civ. P. 72(b); DRI LR Cv 72(d).          Failure to

file specific objections in a timely manner constitutes waiver of

the right to review by the district court and the right to appeal

the district court’s decision.        See United States v. Valencia-

Copete, 792 F.2d 4, 6 (1st Cir. 1986); Park Motor Mart, Inc. v.

Ford Motor Co., 616 F.2d 603, 605 (1st Cir. 1980).




/s/ David L. Martin
DAVID L. MARTIN
United States Magistrate Judge
December 15, 2009




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